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                                                                       January 10, 2018

    By ECF

    Magistrate Judge Ramon E. Reyes, Jr.
    United States District Court Eastern District of New York
    225 Cadman Plaza East
    Rm. N208
    Brooklyn, New York 11201

    Re:            Re: Muchmore's Cafe LLC v. City of New York
                   14-cv-05668-RRM-RER
                   Amicus Curiae Reply

    Your Honor:

    Amicus replies to the January 6, 2017, response letter of Muchmore’s Cafe, LLC. The
    City of New York did not submit a response.
    Muchmore correctly states that it has not made a formal attorney’s fees motion, but
    Muchmore discusses attorney’s fees in two letters to the Court Muchmore seeks thereby
    to obtain the Court’s imprimatur for the City to pay attorney’s fees not necessarily
    obtainable by motion, otherwise there is no need to reference fees in letters to the Court.
    Muchmore is not entitled to Equal Protection fees, based upon the Court’s dubious view
    of the claim and the questionable representations made by Muchmore to the Court.
    As to the First Amendment claims, had Muchmore actually prevailed, then the use of
    “dancing” as a factor in other City regulations would have been equally suspect. The
    challenging part of the Cabaret Law for those venues located in areas zoned for dancing
    was compliance with various fire, safety, and building regulations including the security
    regulation included in the Cabaret Law. All of those provisions remain in effect, and the
    legality would be subject to First Amendment challenge.
    As to Muchmore’s claims in support of the Equal Protection claim, it is unfortunate that
    Muchmore feels that Amicus’ assertions are scurrilous - to the contrary, Amicus carefully
    transcribed Muchmore’s words. Muchmore misrepresented the text of the 1926 Law to
    the Court and the Court relied upon those misrepresentations.
    Amicus had hoped that Muchmore would acknowledge its misstatements. To avoid
    misrepresentation of the current litigation, Amicus respectfully requests the Court to
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    clarify its September Memorandum and Order as to the Equal Protection Claim so as to
    not perpetuate incorrect history as to the text of the 1926 Cabaret Law.
    As to other matters introduced by Muchmore in its response, Amicus has had no
    attorney-client relationship with Muchmore. Amicus did have an interest in seeing the
    repeal of the regulations restricting dancing and offered to provide help in the form of
    affidavits. Muchmore acknowledges that Amicus was skeptical of the historical basis of
    Plaintiff’s Equal Protection claim and the unsubstantiated historical claims.
    Amicus felt that it was important to include the challenges to other City regulations. As
    to the zoning law, Amicus offered to ascertain if any venues outside the dancing zones
    would be willing to join the case. Amicus also offered to obtain the support of high-
    profile individuals who would oppose the Cabaret Law - and indeed, Amicus later did
    arrange the only high-profile celebrity to testify against the Law at the last City Council
    hearing.
    Muchmore also states that “Muchmore’s counsel worked closely with Council Member
    Rafael Espinal, other members of the City Council, and numerous interest groups”
    lobbying on changes to the Law and in the course of such lobbying obtained
    “admissions” from the City.
    Muchmore’s acknowledgment of his relationship with Espinal substantiates the assertion
    of Amicus that much of the race rhetoric in the media are traceable to Muchmore and
    Muchmore’s filings in this case. Espinal repeated Muchmore’s inaccurate statements
    including citation of Dry Prohibition as supporting the racist origin claim, until Amicus
    strongly objected. Espinal then was seen on NewYork One repeating another of
    Muchmore’s false claims, that the law as enacted included limitations on the types of
    musical instruments that could be played.
    The other interest groups with which Muchmore worked closely mounted an effective
    public relations campaign of blogs, statements, and petitions all perpetuating
    Muchmore’s racial claims.
    Muchmore is correct that context in interpretation is important which is why the history
    of Dry Prohibition is important and the meaning of “running wild” in 1926 is important.
    What Mayor DeBlasio repeats in 2017 is not relevant.
                                                                      Sincerely,




                                                                       Alan D. Sugarman

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